CaSe:lS-J_JAOS-SDB DOC#ZJ_O Filed:lO/lO/J_S Entered:lO/lO/1811237ZJ_7 Page:l Oi 11

United States Bankruptcy Court
Southern l)istriet ot`Georgia

Kenneth Vernard Hami!ton
m l’¢ Eleanor Jones Hamiiton Cil~‘~\-` NO» i 8 " 1 1 q 03 "' 303

Dehlor( s_) ` Che.chr 13

TRANSMITTAL oF PAY Al)vlcns ~ RFY\E N DED

Attached to this transmittal are copies oi`ali payment advices (pay stubs), or other evidence of payment received
by the debtor(s) from empioyer(s) within sixty days before the fiiing of the petition_

l. Debtot l Kenneth Vernard Hami|ton
Employer Georgia Right-of-Way Company
Dates of Pa_v Advices: From 3-1-18 Tg. $»30-18

’l`he debtor did not receive any payment adviccs, or other evidence of payment from an employer
within sixty days before the filing ot`the petition because:

i:§` 'l`he Debtor l was not employed
i:i The Debtor l's source of income Was from Social Securityk
ij The Debtor i was self-employed

2. chtor 2 (Spousc) E|eanof donee Hamilton

 

Empioyer NFA
Dates of Pay Advices: i"rorn Tc

'l`he joint debtor did not receive any payment advices, or other evidence of payment, from an
employer within sixty days before the filing ofthc petition because:

i:i chtor 2 was not employed
i?i Debtor 2'3 source of income Was from Social Security_
i:i Debtor 2 was seif~employed.

Important Notice of Redaction Responsibilitv: Any attached documents must be redacted in compliance with Fed. R.
Bankr. P. 9037. Only inciude the last four digits of`a debtor's social security number or individual taxpayer identification
number.

@<`/)o /a'» ” sr

(Ynamre of Attorney for Debtor(s) Date Signature of Debtor ] Date

` f
/Sl D. C\ou word ¢f BMA,.¢Q¢,., &M,
Name ofAttorney ' Signature ot` De tor 2 (ii"applicable) Date

Tran_Pay_Adv [Rev. 12!17]
Sofrware Copyright {c) 1996`20?8 Best Case. £_L.C - www.besiease corn Best Case Baokrupu:y

 
  
 

     

 

CaSe:lS-J_JAOS-SDB DOC#ZJ_O Filed:lO/lO/J_S Entered:lO/lO/J_S 11237217 PaQeZZ Oi 11

AFF`lDAVlT
l. Eicanor .lones l-lamilton, hereby Sweat and/er affirm that l am over that age of 13 and
have personal knowledge to execute this aii‘idavit regarding my househoid income for the last six

monthsl For the last six months l have received $750.00 per month from Social Security.

This io“ldn)' ol` [)C‘Ib\(_')€,('dr EUi S.

_l' €\ectr\<:>r.~ ms HQmi\w

i€leanor jones i-lamilton

 

S\\, oz n and subscribed to bet`oi “e zinc this
\`\\\`\( n V~;”H,';!{

lO"Qday ol OC‘i\d\O@v‘, ?.(\L~L§§W 495/04

   

 

l
§ GEORGLA §
C\Yary Pubiic § 559'\'.29. 2013 §
t B,p §
’af£" %9W PUBL\C' §

 

» - \\
i\/l_\' C`omnnsszon ii.\:piics""; waqu \\\"`
millll\\\

§§%'§i¥§?ii£o§?§de Doc#:lo ‘ifttéa:‘i‘di’r_t§l*&evieiiié'ié>é?Eo/lo/le 11:37:17 Pc@?e:e of 11

Georgia Right-of-Way Com any l rn` 8
ministerial P Pe”°““ E“ "',§fm.$§§§.?i£?§
FQFBYI?\,GAHGZ§

{473] 315-0339

0931"€| UDS'¢'¢B 0!!||2/}8 53511
Kannech V. Hamll!on

PO BOR 1617
Thomslm. GA 30824

 

 

 

Emp Ici 236 Loc 500 Pel'iod Bczin D‘.UIGHS Nat Pav 462..34
SUlU.B A Hire Dote 03105!12 Perlcd End 07122!18 D|r Dcp 462.84
Chack 'l`vr,a Rell

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

Tetai Gross Psy gum gm Cmm mt m mt Tetal Grcss Pay 683.68
Rell.'l'\:lnr 20.00 §7.09 34].80 24,6€}3.?5 F¢der&l Ta><es
lel:»;:z:;l zg.':§ 1109 34?;:§ l.i;::i§ SWE and L°¢al TP~'<°S

4o.oo sas.ao zs.szo.w Od“`“’ D°d“°‘i°m‘
B¢Fl$ms Cur:em Aml Y¢d drill N°t pay
nn auth warned 27.3¢ :`054.66 o Dii°°i D°P°Blis

gina o'o.o N¢f Ci`l€€k
Tam Sr.azlrs Tamble. Curr¢nc mr Yid Ame
Fecerai limine nix M-l 655.37 2534 139?.68
oAsnr sss.s'z 40.63 i,ssz.zo
Medlm asset 950 s'm.as
margin srrw M.'z-: 655_37 son l,l 99.63 Time Off Bniances Hom-= cullen ns crow
116.29 4.549.71 removal 40.53 cramerst
Fb Logac.y aia.:mm' - D!spiayv~ gm secular nolo

Other Dedugtigg§ mm P:w ome-imm Y;¢l Amz
mr'rax mac s.sa szaia'r
125 £)entel?max 0.22 ]2.96 9
znd annual zone 521.35
125 M=¢li¢al max 10_59 42 ma e
Pre tax A_'Enc 1732 575.43 9
koch 4oll¢ miss 1,35135

 

104.4':' 3,9{?9.5£

 

 

 

 

 

_'\l=
Bonk Accgum Czlrmnt Amt
Sun'l"rus! Bnrlk 462.84
" 4¢iz.s4

0 'I'his code is shown for information cniy. II luis no :E:r.: un your necpay.
9 Thia code is nut included in your Fedaml gamble wagzg.

 

®a§éide€im$llc¥§-@oe Doc#:10 Gl€ilen:lteyngpse 41§1@1@|=@&3910/10/13 11:37:17 canon of 11

GB°¥E“\ Ri£hWY-WH&' C¢NPHIW Personai Earoings Statemont
1135 Ri}mbi¢ 11th Wm;lnmammul¢»

Forsy!l'g GA 31029
[475) 315-033(}

003740 003'1“0 OHIDQIIE 5!154

Konnoth V. Hamifton

POBOX lSl'!
'Ehomson, GA 30824

 

 

 

Enp id 236 Loo 500 Pcriod Bonin 07)'23!18 th ?ay 482.89
Status A Hire Date 03/0$!12 Period lind 07!2§!18 Dir Deu 432.89
Ch¢ck Tvo= Roc

 

   

 

 

 

 

 

 

 

 

 

 

 

 

TDfBl Gl'GHE Paj' gang gm gumt mm Ym mm ifle GI'OSS FB.Y 583.§0
nonuni- 4@_00 ives salem 24.503.15 Federal Tnxoa .35,43
n l'dw e_oo . 849.
i=::iioml o.llo 382 l loai; Stete and I..ooal Taxes .30_82
lo.oo same zs,szo.io C’*h‘"" Ded“°ii°ns
Ben°ms Curr§”r_l_: Amr thf Arnl _ Net Pzay
ala auth 40 la men 2134 l,o¢sa.es o Du'¢c: D¢posics
D_no gino N¢t C§i¢@k
TBX€S S:ams Tgu_§_bfe Cumanc Arnc ?id Amc
l==e¢ml tacoma rex M-l 555.31 35.34 1397.63
onset 555_31 ao.s»z i,ss:tso
Mcdicuro 655,37 9.50 370.05
owen sl'l'w MJz-l 655.51 so.sz l,l 99.62 Time OffBaiancea l-lours cullen ns crowe
115_30 4,549_71 Personsl 403-3 09!27/201 8 RJ

pg L¢gee_l¢.decmal ¢ Dl'.rpl'ays inn sacrer Dem

Q§h§: llod*uctions from Pav Cl.srrenll=unc Yld lang

 

 

AN\:¢ Tnx A.flac 833 324.8?
325 Dcntai Prelax 022 1236 8
Ind wild l.\‘.l!zn OlCD 621.86
125 Medicai Pr¢tnx 10.69 411.03 a
Pre tax Afla: 1732 575.43 0
goff 4Ul.k 47485 1.353.3$
84.41 3\999.$5

 

 

 

 

Ee.nlc .Aocoun; Curre.nt Amt
Sun'l'rl.lsc Bonk __ v __ 452.89
482.§5

0 This code is shown for information only. lt has no effect on your notpzry.
0 °1'his code is nor included ln your P'edoral laxslble woges.

€°&?§H‘§%§io%i-§`E)B Doc#:10 GPHed:JlibvfePPa‘ 47§@@@@910/10/18 11:37:17 mcgee of 11

Georgia Right-of-Wsy Compsny
1135 Rumblo Road

Fomyzh, GA 31029

[47$) 315-0850

003140 003th DUllS/li !3‘903
Kenneth V. .Hamilton

PO BOX 16 l?
Thomson, GA 30&24

Porsonal Earm'ngs Statement

wm HW¥CI V?m\a'|\ my

 

 

 

stop la ' 236 w soo
Sm'us A Hiro Dl\le 03105!12

?:l~iod Bea.in U'V.io/lli Nol Pav 482.89
Period En¢i 08!05»'18 Dir Dcp 482.89
Checic 'Iwo Rof

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Totdl Gross Pay mm gm C,memmm m mt Total Gross Pay 683.60
§§er oo.oo 1199 533.6<3 24.603.78 Pederal ‘l'axes
o ny 9.00 000 849.56
qug°ng|, ago ago 1’[62 la Smt§ and Locai TEXES
40.00 susan :s.szo.an O’h°i’ D°d'-‘°f‘°“$
a
audits Cmenl Arm Ytd Amz , Net P_ y
l-:R nom 4c lk Msi¢il 2134 1_05.;_55 o Dzrec'c Doposns
adm g_gg N¢t Ci'i¢¢l{
Taxes Status Taznbio Curfenl Amt YLd Amt
Fedazal maine To¢ M-l 655.3? 35.34 l‘s§?.ss
OASol 555.3? 50.53 l.ssz.so
Medioare $55.3'7 9.$1 3`?0.£15
deems sn'w Mlz-l 655.31 lutz i,lso.as Tlme OfrBolanees doors norm ns create
115_39 4549,71 Pcrsonal 40_63 GB!ZTJZDfB id

Ot tons from P CumncAn-ir Y d Alm
A.\°ichox.Afllc 333 324.8?
125 Dcmol Preoax 0.12 1236 8
lhd ABlk loan 0.€‘0 621.36
125 Medif.‘&| Pl'¢la?< 30.59 411`93 9
Pz'c tax Aila¢ 1732 675.48 9
Rath 4011< 47_8$ 1.353.35

 

84.41 3¢909.55

 

 

 

 

 

Banl: Acoount Cunenl: Arm
SUnTrust Bank ` ' 452.39
58189

6 'I'ills code is shown for information only. kilos no effect on your net pny,
9 'f`his code is non included in your chcra| taxable wagon

-_"h .€cgm:_\qi ccnrdl' ~ D!‘_rp!qy.r La.lrhi'cormi .Dmv

é%Fs’?e§’§§@-Hib§?-§BB Doc#:10 H%&HWMB!E%Y “§1%?193?&0/10/18 11:37:17 P%@Ze:@ of 11

C'F~°l'§i“ Righ$'“f-W=ly C°mPa“y Personal Earnings Siatement
1 135 Rumb;?, R{Jad um!v=zunm=u =a=\a=-rl mr
solem GA 3 ion

may 315-esso

¢!DS'MD 00!7-€0 MSJIH Hb_!§
Kennoth V. Hamilcon

P’Q BOX ]5[»7
Thdm$an. GA 30824

 

 

 

Emp Id 236 Lor.' 500 Pcriod Bcg]n 08!1]6!1 B Nec an 482.96
Smua A H!r: Datc 03105.'12 Pcriod End 08!12)'15 D ir Dcp 482.9|]
Chr.ck 'I\rpe Re£

 

 

   

 

 

     

 

 

 

 

 

 

 

 

'I‘otal Gross ray ;_;_¢_,_m gm Cmm Amt yca mm 'l`otal Gross Pay 683.50
Regulnr 40.00 1109 653.60 24.608.78 Federal Taxes -35.47
Holld , .0 4 ,
hamm 333 303 1:5§_§§ Smc and Lacal ‘L`axas »30.82
40,80 533_60 zinvo ether D¢duc€if}n§ '84.41
Ne: Pa .`. \"‘..`=;"
BB|!I &Ef£ Cum:m Am\ ¥Id Amt , _ y ms '
Ezz nom amc M¢:=h 21.34 1.0§4.65 o D‘*°°t DBP°B"“ "Y§?S_o_ 1
olga aaa NE£ Check nn n l `?"
TBK€!- Smus Tmb;e Curmm mm Y:d .»~.mc
Federm hamm Tm¢ M-l 6$5`37 35.34 :,397.68
oasm 655.3': ao.sz :,532.30
mature 655.37 550 amos
margin srrw MIz-: ess.av 30.82 1,:99.63 Time 01’!’ Baiances ama noth woman
115_;9 ¢,549‘71 Personal 40.53 09/27!101& Fd

§b Laga¢_v,¢,ccmd ' D»':p.'ays .':asr J:cr~m:‘ D¢uo

Othg Dgg§g§`gg§ from Pa§{ Curr=ng Arm de Amz

A.‘Beer Tnx. A£fac 3.33 324.87
125 Dental Prerax 0.22 1236 9
End dG!kI.onn O.DO §2£.€6
125 Mndicai Premx 10.69 4£ ].03 6
Pre tax Aflac '|'!.32 575.43 0
Ro;h 401k 47.8$ 1,863.35

 

84.4¥ 3.909.$5

 

 

 

B$.nk A:: nr. Cum:ntmm
Sun'l`ru:t Bar!k 432.90
482.90

0 This code is shown for information only I:has no eft?:ct an your ncr pay
0 This code is mi inducted inyuor Fc,dcrai lusbie wag¢s.

§§§2§{1‘§§111§1©§-§’153 Doc#:10 GPH&%VIESYJ:°UPP§ 47§&1@¢'@1¥910/10/18 11:37:17 P’HY€:? of 11

Georgia R.ight-of-Wny Compauy ' 1:
1135 Rumbl¢ Road Personal Earmnw§:mn§=t:\:¢e:w?¢?m
Fu:sy&g G»A 31029

(478) 3 IS-OES(J

wl'?l|> 908?¢9 GB!]D.'|H §£1'75
Kenneth V. I-Iamtlf,an

FO BO`X 1617
'l`homaon, GA 3082¢

 

 

 

 

 

Emp ld 236 Lol: 500 Per{od Bcgirz UBIHI‘IB NE\'. Pav 482.89
Smn.u A Him beto 0311]5!12 P=riod End 118/1 91’18 Di!r D¢p 482-89
Check Tvpe Rca

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Totsl Gross Ps.y mm gm Cw,m mg gm mt Total Gxoss Pay

Regnhr 40.DD 17.09 683.60 24,608.‘¢'8 F¢dgral Tg_xeg

§§Hl 333 g:gg 1?;§.§§ ` stage and L°°al Ta"es
do.oo same 16,620.40 O&‘°" Ded“°‘i°“s

.'Ben aim Currenc Amc ‘:'nd Amr . Net P?y

BR Rotb M%kMamh 1134 ;`054‘55 o D\rect Deposits

0.01; o.oo N°! Ch°°k n

TBX¢S Smiu.s Taxahlo Cu:rer.c Amt YLd Amt

FECIera\ income Tex M»l 55$.3'! 35.34 1.39'1`.53

OASDI 655.37 40.54 1,532.30

Madiwc 65$.37 950 370.05

Georgia SlTW MJz-l 655.3'1' 30.82 1,19.9.6 8 Time 01`1` leances Hou:s Dallars Asc>fDace

115,35 4_549_71 P:rsone.l 40.63 09/2.1'.*'2018 P:
k ngaq\»/! ccrr:af - D.'mlay: LmrA¢mmf Don'

Oth er De. ` o Pa Curr=ncArm Y\:d Am:

mr Tax Af!.ac 8.33 324.87

125 Domal Precax 1122 1196 9

an 401kl.nan 0.00 521.81$

125 Mndica.l Pl’etix 10.69 dl 1.03 9

Pre m A.fhm 17.32 675.43 o

Rolh 401 k 47.3$ 1.863.35

 

84.51 3,909.55

 

 

 

 

 

 

 

 

Bv.nk mount Cun-en: Amt
SunTrust Bank 1 482.89
482.89

0 'I'his code is shown far hcfommrion only. 11 has no cf£!:ci onyour nor pay.
9 `J.'hil code is not included in your Pedern.f taxable wages.

85ng 15§§11'13¢1@§-%3 Doc#:10 G'I§?\°é’dJ:TB//PBFE'§ ‘?§“3131%53910/10/13 11:37:17 B§§e:a of 11

Georgia Right-uf-Wa Com '
1135 amc md " P”“y PE’S°““‘E“"“”Z§§.§E?§£E§

mech, GA 21029
{478) 315~0830

winn umw umwa 51313

Kenneth V. Hamih:on

130 BDX 1617
Thomsor:, GA. 3082¢1

 

 

an Id 235 Loe 500 Pcrc'ed Be¢in 118/20!13 Nes Pav 482.90
Sxatus A H§!e Dato 03105!12 Pen`od E-nd 118/16/18 Dir Do\> 482.90
Chcck 'I`yuo Rce

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total Gross Pay Hnu,, gm gmm Am m Amt Tc>tal Gross Pay 683.60
Rest'._\g:r 40.00 1109 683.60 14,608.?2 F¢dm,g '_r_'g_x¢s
§3;=£1 133 133 1,1§§;?§ smmdw=a: ram
ao.uo aas.au za,sze.~¢o th°’ D'=d“°'i°ns
Be“em*" Currenz Am Y;d mm Net ?ay
ER mm 4011= mach 2134 1,064.55 o Dir€¢t Dep<>sirs
o.on s.no Net Check
THXES §Ls 'rg_nhl= currens Amc m mm
Fadoral Income rex M-z 655.3? 35_34 1.391_&8
oAsD; 655_31 40.63 1,532.30
M»dioare 655,37 950 370.05
Gmrgia sn'w MJZ~I 655.27 30.32 1,199.53 Time Off Balsmccs nom comm M ofp=;¢
11539 4‘54§,11 Personal 40:§§ 09127!1018 1111
P: L=ga:_v A¢=.':mal - DIx/:Iay.v er.¢ccnm! Bar:
¥' D¢dm:§ion f Currenf Amt Y'n:l Amt
Aerax Mlac 333 szd,s*r
125 Domal Pratax 0.21 1236 6
2nd 4011: Loan G.DG 621.86
125 M=diczl mm 1059 ¢11.03 a
Pl‘e mt A§ac 1732 675.-4$ 6
Rolh 40111 4‘1.85 1,1163.35
34.41 3,909.55

 

aj

    

 

 

 

Bn.nk Acr:oum Cu.‘fam Am:
Sun'l`rusr Bank 432.90
432.9€

0 Thi:: code is shown for information only. 1c has no effecs on your ncr pny.
0 '1'1113 code is noe lnciud¢d in your r‘edmna.l taxabie wagcs.

c:S;§f§a§Lz§j§H$§?§§B Doc#: 10 1515@°§:12511311§3’ dl§§“?é?é°€?£o/mma 11: 37: 17 F;§Gé: 9 of 11

Georgia Right-of- -Way Compnny Personal Earnings Statement
1135 R.U'w'bfs RCE.d mammqu namqu
Forsych, GA 31029

(478} 315-088[}

0031$0 00!740 W!l:h'l$ 54|5€‘
Kenneth V. Hami%ton

PO BOX 1617
'rhmmn, GA anna

 

 

 

 

236 Loc 500 Pcrind Beiu'n 08/2‘1/18 Ner Pav 482.81|
A Hi:'u Dhte 031'|]5!‘12 P¢!'fnd End 1}9!321'18 Dlr D¢p 482.59
Chec.*c Tvbe RL'R

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

Tota1Gross Pay gm gm omni mm ytd Amt Tatal Gross Pay
P.¢g_u:u 40.00 1109 ssa,éo 24.553.79 Federal Taxes
§;‘;5,';;1 §;§3 333 1,?2§:?§ Sw¢andm\wes
40.00 633.60 26,620.40 adm Ded“°ti°“-°' t
mnt current Amr m mm , wet Pfiy '
EP. Ro:h 4011: Me.ioh 27,3¢ 1.064.65 o Dn'ect Depos:ts
u.no 1100 Ne'€ Che¢k
TaX¢S Smux Taxable Cur:em Amr ‘In:l Amc
chcra|. income Tax M-1 655.3'! 35.34 1,39'1'.68
OASD¥ 555.37 40.53 ],532.30
Mnd:`c.ar¢ 6$$.37 5.51 370.05
Gwrgissl'l'w MIz-: 6$5.37 3012 1.199.63 T!me Off Bala races nom Dullers As OfDaxe
nasa 4.549.11 P=m1 40T5T os/zw:o 13 Fv
RJ chaq£m'nai - D:.~plays Lcs: Aaerw! Dan

¥ c s from Po Cun\emAmt Y:d Am:
m 'z'ax A£ac 133 324.37
125 Denw Prcta,x {1.22 12.96 6
ind 4011< Lo¢m 0.00 621.36
125 Mcdl'cal Pre'lax 10.69 411.03 6
Pre tax A‘Eac 1732 57$.48' 9
Roth 4011: 47,135 1,353.35

 

34~41 3,909.‘53

 

 

 

 

 

 

 

Bnnk Axcou_nr, Currcnt Am;
Snn'[`:u:t Bank 482`89
481 19

0 This cadc as shown for information uniy_ lthas no affect onyour net pay.
9 Th:`s cadc 11 not Included m your I~'cd\:rn.l valuable mges.

 

é%{’§%§’f%‘-ZHB§?§BB Doc#:10 GF‘?F§MB‘}ELM%Y ‘&1&1“<§6?10/10/18 11:37:17 F§é§e:m of 11

'W\..
G¢m'gia R|gM-Of`-Way C°mvvvy Personal Earnings Statement
1135 R\!mb§¢ Rdhd Mmmmi immlwwr
Fmsym. GA 31029
(4')3)315-03110

DDJ'Mh €03":'40 091'2021.8 1450

I(enneth V. I'lamilton

150 BOJ{ 1617
Thomaan, GA 30824

 

 

 

Emp 111 238 Loc 500 PeT'iod Bes.in 09103!13 Net Pav 452.90
Statul A HirB Dnle 931/051 22 P¢r§od §rv.i 091091'1 B Dlr Den 482.90
Ch$!;k m Rag

 

   

 

 

 

 

 

 

 

 

 

 

 

Totai Grosa Pay news gm omni mt m gm Total Gmss Pay 633.60
Rea_ular 1038 1109 3¢1.80 24,502.72 Pederai Taxes -85.4‘7
§§5§1 1133 1133 i§§;§§ 1,?2§1?§ Smreandw==wws -Sw
40.09 sas.so 26.620.413 Oth\:r D=ducn'ons
B enem$ Current mut '{r.d Amc , Nat Pay
ERRnrh 4011¢ Mawh 2134 1.054.66 o D“°°’ D°P°S“S
o.ao a.ou N“ Ch°°k
Tax'a$ Smws Taxeble Cuncnt A.m€ Ytd Amt
chcml Irmoma Tax M-l 655.3'¢' 35.34 1.397,68
OASD! 655.3'»' 40.63 1.532.3[¥
M¢dicarc 655_3'1 9.50 3 70.05
Gcorg,ia SITW MJZ-l 655.37 30.82 1,199.68 'i`ime OffBBIBRCES Hours Daliars As Of Da'le
115,2§ ¢`549_71 Peraonal 40.63 0912?/2018 111
Fd I.s'guqu{mma! ».D.'_!)rlaj\: Lar:xccrn=! Da:r
Other Deductigg§ f|;_qm fn Cur-:cnt Amc Y:d Am:
mr Tax Ailao 833 324.8‘1
125 Denml Prew{ 1122 §2.96 0
211¢14011£1.»§::1 £1.0{} §2.1.86
125 Medical?ru!ax 1059 il 1113 9
Pre chHac 1132 6?5.68 8
Ro'lh lek 4?.$5 1,863.35
34.4). 3,90§,5§

 

 

 

 

Bmk Ar.coum C'umnt Amt
Sun'l`tusl'. Bank 482.90

482.90

0 '1'111': code is annum for information cm1y_ 11 has no effect on your n¢:pay.
0 This code is ncr included inynur F=dc:al enable wagea

CSae§fez:&iQanjlaffééz-?S%“B Doc#:lo EE?§‘YYB!H©S/Y§W EHZSSFé%§Yo/lo/la 11:37:17 Pzaaé$é:ll of 11

Gwrsil Righf-°Y'WSY mmme Personal Earnings Stotem ant
1135 RU|T|H¢ ROE§ \r|,m\n:¢uvm o:vu\.zmw.\v
Forsyzh, GA 31029

[473} 315~0335

003?#\} QGHID 09»'21!|8 M?Z§

Kennelh V. Hnmilton

110 Box 1617
mmaon, GA 30324

 

 

 

 

H=np Id 236 m scm Fm'ud sam canons men Pay 432.29
sums A Hiro ma osmsnz P¢rind End esm/13 Dir map 432.39
C£w;k ?We Reg

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

'xb_

‘I‘ota! Grnss Pay w gm gumm Am¢ m Amt Total Gross Pay 633.6|}
R.~=g'm" 40.00 1109 ssa.so 24.503.'13 -, Federal 'Ia.xes -35.43
§;Y.‘S§L §:§3 §:3§ §,?2§;?§ Sw¢¢a»dwalrms _mz

mm sss.se 25.620.40 ether D°d“°d°ns
Benet“¢rs cwt mm Y:d mm , wet m
511 nom 4a1 k mem 2134 z.oaa.ss o D“¢°t D°`P°Shs

o.oo o.au N°f Ch°°k
rra-195 Suarus ’I`axahlu Currem Amz Ytd Arm
Fed.eral mem Tu M-z 655.3? 35.3+ 1.397.68
oAsD: ess.s'r 40.54 x,ssz.au
M=dicare 655.37 ass amos
Georgia smv .wz-§ ess.a? 30.32 1,l99.rss Time OffBalsnces mm D¢ilm A; OfDm
116.30 4,549.11 Pmom».l 40.53 09.'2712018 iv
[-`b Lcrac,vAn-mn! - Dé¢-Fl'oyx La.r¢ decaqu Dm'r

Oth cms horn Pa CurrenrAmr ¥td Amt
A.‘R¢r Tax Afla.c 3,33 324.87
325 Dem.a% Premx 0.22 1236 0
and 401kLom 0.00 621.36
125 M¢dml mm 10.69 411.03 o
Pretax M\ac |7.32 675.4$ 8
koch 401:: 4?`35 i,sss.as

 

84.4.| 3.969.55

 

 

 

 

Bonk Aemum Currem Am\
Sun'!`rust Bmk 482‘89
4!389

0 T§\i.a code is shown for §nfbrmatlon unly. Ic fm ne amax on your net pay.
0 This code is net included in your Federal mbh wagoa.

 

